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         EXHIBIT 70
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                    LIL’ JOE RECORDS, INC. vs MARK ROSS, ET AL.
                             Joseph Weinberger on 10/26/2022                    ·

    ·1· · · · · · · ·UNITED STATES DISTRICT COURT
    · · · · · · · · ·SOUTHERN DISTRICT OF FLORIDA
    ·2

    ·3· · · · · · · · CASE NO. 1:21-CV-23727-DPG

    ·4
    · · ·LIL’ JOE RECORDS, INC., a Florida
    ·5· ·corporation,

    ·6· · · · · Plaintiffs,

    ·7· ·v.

    ·8·   ·MARK ROSS, CHRISTOPHER WONG
    · ·   ·WON, JR., RODERICK WONG WON,
    ·9·   ·LETERIUS RAY, ANISSA WONG WON
    · ·   ·and LUTHER CAMPBELL,
    10
    · ·   · · · · Defendants.
    11

    12· ·____________________________________________________/

    13
    · · ·DEPOSITION OF:· · ·JOSEPH WEINBERGER
    14· · · · · · · · · · · (LIL' JOE RECORDS, INC.)

    15· ·TAKEN BY:· · · · · DEFENDANTS

    16· ·DATE:· · · · · · · OCTOBER 26, 2022

    17· ·TIME:· · · · · · · 10:57 A.M. - 3:46 P.M.

    18· ·PLACE:· · · · · · ·ZOOM VIDEOCONFERENCE

    19· ·STENOGRAPHICALLY
    · · ·REPORTED BY:· · · ·KRISTINA ESSIG, RPR
    20· · · · · · · · · · · NOTARY PUBLIC, STATE OF FLORIDA

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                             Joseph Weinberger on 10/26/2022            Page 117

    ·1· ·copying the forms I had to give to Richard Wolfe.
    ·2· · · ·Q.· · Okay.· And were you doing that in
    ·3· ·connection with the termination letter and/or this
    ·4· ·lawsuit?
    ·5· · · ·A.· · Yes.
    ·6· · · ·Q.· · So it's fair to say that because of this
    ·7· ·lawsuit, you went back and amended this copyright
    ·8· ·registration in Exhibit 6?
    ·9· · · ·A.· · Yes.
    10· · · ·Q.· · Any other reason?
    11· · · ·A.· · No.
    12· · · ·Q.· · Okay.· I'm going to put another document in
    13· ·front of you I'm going to mark as Exhibit 7.
    14· · · · · · ·(WHEREUPON, Defendants' Exhibit 7 was
    15· · · · · · ·marked for identification.)
    16· ·BY MR. BURROUGHS:
    17· · · ·Q.· · Do you recognize this document?
    18· · · ·A.· · Yes.
    19· · · ·Q.· · Okay.· And what's this document?
    20· · · ·A.· · It's a Form SR.
    21· · · ·Q.· · And stopping at Section 5, do you see that
    22· ·section?· "Previous registration:· Has registration
    23· ·for this work or an earlier version of this work
    24· ·already been made in the copyright office?"
    25· · · · · · ·Do you see that?

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                             Joseph Weinberger on 10/26/2022            Page 121

    ·1· · · · · · ·We're going to marking as Exhibit 9 the
    ·2· · · agreement reflecting the '87 arrangement.
    ·3· · · · · · ·(WHEREUPON, Defendants' Exhibit 9 was
    ·4· · · · · · ·marked for identification.)
    ·5· · · · · · ·MR. WOLFE:· Give me one second.
    ·6· · · · · · ·Okay.· What you sent to me as Exhibit
    ·7· · · 10, we're now marking Exhibit 9, and for the
    ·8· · · record, it's an undated document that says
    ·9· · · Recording Agreement and Skyywalker Records,
    10· · · Inc., correct?
    11· ·BY MR. BURROUGHS:
    12· · · ·Q.· · Are you familiar with this document?
    13· · · · · · ·MR. WOLFE:· Hold on.
    14· · · · · · ·Do you have it handy?
    15· · · · · · ·THE WITNESS:· This one here?
    16· · · · · · ·MR. WOLFE:· Yes, that's it.
    17· · · · · · ·THE WITNESS:· Yeah, I see it.
    18· ·BY MR. BURROUGHS:
    19· · · ·Q.· · Okay.· When did you first see this
    20· ·agreement?
    21· · · ·A.· · In the 2000's.
    22· · · ·Q.· · In what context did you first see this
    23· ·agreement?
    24· · · ·A.· · Wong Won produced it in litigation I had
    25· ·with him.

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    ·1· · · ·Q.· · Did you review it at the time?
    ·2· · · ·A.· · Not really.
    ·3· · · ·Q.· · Did you respond to Wong Won and dispute its
    ·4· ·voracity or validity at the time?
    ·5· · · ·A.· · The case settled when we went to a
    ·6· ·mediation.
    ·7· · · ·Q.· · So before settling it, it was never
    ·8· ·challenged, is that accurate?
    ·9· · · ·A.· · I don't recall.· I don't -- I don't know.
    10· · · ·Q.· · As you sit here today, do you have reason
    11· ·to challenge this agreement?
    12· · · ·A.· · Yeah, I told you earlier the different --
    13· ·the different things that I thought were peculiar
    14· ·with it.
    15· · · ·Q.· · Okay.· But other than some of the
    16· ·peculiarities that you mentioned, do you challenge
    17· ·the fact that the individuals transferred their
    18· ·copyrights to the label via this agreement?
    19· · · ·A.· · Well, I don't know if this agreement is a
    20· ·valid agreement because Luther Campbell said that
    21· ·there was never an agreement.
    22· · · ·Q.· · Understood.
    23· · · · · · ·But do you dispute that the members of
    24· ·2 Live Crew transferred the copyrights of the subject
    25· ·albums to the label?

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    ·1· · · · · · · · · · CERTIFICATE OF OATH

    ·2

    ·3· ·STATE OF FLORIDA

    ·4· ·COUNTY OF BROWARD

    ·5

    ·6· · · · · · ·I, KRISTINA ESSIG, RPR, Registered

    ·7· ·Professional Reporter, and Notary Public, State of

    ·8· ·Florida, certify that JOSEPH WEINBERGER, appeared

    ·9· ·before me via videoconference and was duly

    10· ·sworn/affirmed remotely pursuant to the Florida

    11· ·Supreme Court Administrative Order.

    12

    13· · · · · · WITNESS my hand and official seal this

    14· ·26th day of October, 2022.

    15

    16

    17

    18
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·______________________________
    19·   ·   ·   ·   ·   ·   ·   ·   ·   ·Kristina Essig, Court Reporter
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Notary Public, State of Florida
    20·   ·   ·   ·   ·   ·   ·   ·   ·   ·Commission No.: HH064474
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Expires: January 5, 2025
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    ·1· · · · · · · · · CERTIFICATE OF REPORTER

    ·2

    ·3· ·STATE OF FLORIDA

    ·4· ·COUNTY OF BROWARD

    ·5

    ·6· · · · · · ·I, KRISTINA ESSIG, RPR, Registered

    ·7· ·Professional Reporter, and Notary Public, State of

    ·8· ·Florida, do hereby certify that I was authorized to

    ·9· ·and did stenographically report the deposition of

    10· ·JOSEPH WEINBERGER; that a review of the transcript

    11· ·was requested; and the foregoing transcript is a true

    12· ·and accurate record of my stenographic notes.

    13· · · · · · ·I FURTHER CERTIFY that I am not a relative,

    14· ·employee, attorney, or counsel of any of the parties,

    15· ·nor am I a relative or employee of any of the

    16· ·parties' attorney or counsel connected with the

    17· ·action, nor am I financially interested in the

    18· ·action.

    19

    20· · · · · · Dated this 4th day of November, 2022.

    21

    22
    · · · · · · · · · · ·______________________________
    23· · · · · · · · · ·Kristina Essig, Court Reporter
    · · · · · · · · · · ·Notary Public, State of Florida
    24

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